                 Case 2:19-cv-10231-MOB-DRG ECF No. 1-1 filed 01/23/19                                                                       PageID.577                  Page 1 of 1
JS 44 (Rev. 08/16)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose ofinitiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
Mictiael  Barton Batman, et al., on behalf of themselves and all others
Bryan Schneider                                                                                            FIAT Chrysler Automobiles N.V.; FCAUS LLC; Sergio Marchionne,
similarly situated,                                                                                        Former CEO of FCA, FIAT and FIAT Subsidiaries and Chairman of
                                                                                                           FCA and FI A T Subsidiaries, Deceased, and his successor, et al
     (b)   County ofResidence ofFirst Listed Plaintiff Adams County                                         County ofResidence ofFirst Listed Defendant  O akland County
                            (EXCEPT IN US PLAINTIFF CASES)                                                                       {IN US PLAINTIFF CASES ONLY)
                                                                                                            NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

  (C) Attorneys {Firm Name, Address, and Telephone Number)                                                   Attorneys (IfKnown)
Stern Law, PLLC, by Kenneth A. Stern (P30722)
41850 W est 11 Mile Road, Suite 121
Novi, Michigan 48375 - (248) 347-7315

II. BASIS OF JlJRISDI CTION (Place an "X" in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                        (For Diversity Cases Only)                                         and One Box for Defendant)
0 l      U.S. Government               0 3   Federal Question                                                                    PTF        DEF                                           PTF      DEF
           Plaintiff                           (U.S. Government Not a Party)                       Citizen of1bis State          O I        0 l       Incorporated or Principal Place      O 4      �4
                                                                                                                                                        of Business In This State

0 2      U.S. Government               � 4 Diversity                                               Citizen ofAnother State           �2     0    2    Incorporated and Principal Place      0 5      0 5
            Defendant                        (Indicate Citizenship of Parties in Item Ill)                                                               of Business In Another State

                                                                                                   Citizen or Subject of a           0 3    0    3    Forei gn Nation                       0 6      0 6
                                                                                                     Forei JTI Coun
IV NATURE OF SUIT (Place an "X" in One Box Only)                                                                                        Click here few Nature ofSuit Code Descriptions
             CONTRACT                                          TORTS                                  FORFEITURE/PENALTY                      BANKRUPTCY                 OTHER ST ATUTES                    I
0    I IO Insurance                     PERSONAL INJURY                 PERSONAL INJURY            0 625 Drug Related Seizure          0 422 Appeal 28 USC 158            0 375 False Claims Act
0   120 Marine                        0 310 Airplane                 0 365 Personal Injury -             ofProperty 21 USC 881         0 423 Withdrawal                   0 376 Qui Tam (31 USC
0    I 30 Miller Act                  0 3 I 5 Airplane Product              Product Liability      0 690 Other                               28 use 151                         3729(a))
0    140 Negotiable lnstrwnent                 Liability             0 367 Health Care/                                                                                   0 400 State Reapportionment
0    150 Recovery of Overpayment      0 320 Assault, Libel &               Pharmaceutical                                                PROPERTY RJGHTS                  0 410 Antitrust
          & Enforcement ofJudgment             Slander                     Personal Injury                                             0 820 Copy1ights                   0 430 Banks and Banking
0 151 Medicare Act                    0 330 Federal Employers'             Product Liability                                           0 830 Patent                       0 450 Commerce
0 152 Recovery of Defaulted                    Liability             0 368 Asbestos Personal                                           0 840 Trademark                    0 460 Deportation
          Student Loans               0 340 Marine                           Injury Product                                                                              )( 470 Racketeer Influenced and
          (Excludes Veterans)         0 345 Marine Product                  Liability                         LABOR                        SOCIAL SECURITY                      Corrupt Organizations
 0 153 Recovery ofOverpayment                  Liability              PERSONAL PROPERTY            0 710 Fair Labor Standards          0   861HIA ( l 395ft)              0 480 Consumer Credit
          ofVeteran's Benefits        0 350 Motor Vehicle            }( 370 Otl1er Fraud                  Act                          0   862 Black Lung (923)           0 490 Cable/Sat TV
 0 160 Stockholders' Suits            JX355 Motor Vehicle            0 371 Trutl1 in Lending       0 720 Labor/Management              0   863 DIWC/DIWW (405(g))         0 850 Securities/Commodities/
� 190 Otl1er Contract                         Product Liability      0 380 Other Personal                 Relations                    0   864 SSID Title XVI                   Exchange
'£l. 195 Contract Product Liability   0 360 Other Personal                  Property Damage        0 740 Railway Labor Act             0   865 RSI (405(g))              )( 890 Otl1er Statutory Actions
 0 196 Franchise                              lnjmy                  � 385 Property Damage         0 751 Family and Medical                                               0 891 Agricultural Acts
                                      0 362 Personal Injury -               Product Liability             Leave Act                                                       0 893 Environmental Matters
                                              Medical Malpractice                                  0 790 Other Labor Litigation                                           0 895 Freedom oflnfonnation
I          REAL PROPERTY                   CML RIGHTS                PRISONER PETITIONS            0 791 Employee Retirement             FEDERAL TAX SUITS                      Act
 0    2 IO Land Condemnation          0 440 Other Civil Rights         Habeas Corpus:                    Income Security Act           0 870 Taxes (U.S. Plaintiff        0 896 Arbitration
 0    220 Foreclosure                 0 441 Voting                   0 463 Alien Detainee                                                    or Defendant)                0 899 Administrative Procedure
 0    230 Rent Lease & Ejectrnent     0 442 Employment               0 5 IO Motions to Vacate                                          0 871 IRS-Third Party                    Act/Review or Appeal of
 0    240 Torts to Land               0 443 Housing/                        Sentence                                                         26 USC 7609                        Agency Decision
 0    245 Tort Product Liability              Accommodations         0 530 General                                                                                        0 950 Constitutionality of
 0    290 AU Other Real Property      0 445 Amer. w/Disabilities -   0 535 Death Penalty                  IMMIGRATION                                                           State Statutes
                                              Employment               Other:                       0 462 Naturalization Application
                                      0 446 Amer. w/Disabilities -   0 540 Mandamus & Other         0 465 Other Immi gration
                                              Other                  0 550 Civil Rights                   Actions
                                      0 448 Education                0 555 Prison Condition
                                                                     0 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. 0RIGIN (Place an "X" in One Box Only)
 0 I     Original          O 2 Removed from               0 3        Remanded from           0 4 Reinstated or                         O 5 Transferred from                � 6 Multidistrict 0 8 Multidistrict
         Proceeding            Slate Court                           Appellate Court             Reopened                                        Another District              Litigation        Litigation
                                                                                                                                                 (spec/fy)                     Transfer          Direct File


 VI. CAUSE OF ACTION                     1-18_
                                            _ U.S    _ C._ _,._1 9
                                                 _ _ .              _ ,e
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                                                                    6      _ s_ e_ q   0
                                          Cite the U.S. Civil Statute under which ou are filing (Do notc itejurisdictiomti statutes ,miess diversity):
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                                                                                                                                                              _ W       ) ____________
                                          Brief description ofcause:
                                           Product Liability, Marketing Sales Practices, Fraud and violation of RICO
 VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                               DEMAND $                                   CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                   JURY DEMAND:              :Ilg'. Yes   O No
 VIII. RELATED CASE(S)
                        (See instructions):
       IF ANY                               JUDGE Edward M.                                     Chen, USD C ND of Cal.                     DOCKET NUMBER 3:17-md-02777
    DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
    12/10/2018
     01/23/2019                                                        /s/ Kenneth A. Stern (P30722)
    FOR OFFICE USE ONLY

      RECEIPT#                      AMOUNT                                 APPLYING IFP                                      JUDGE                            MAG.JUDGE
